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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


NATIONWIDE MUTUAL INSURANCE CO., et al.                                           PLAINTIFFS

V.                                Case No. 5:20-cv-05014-TLB

OZARK MOUNTAIN POULTRY, INC., et al.                                           DEFENDANTS


                                   JOINT STATUS REPORT

       Plaintiff Nationwide Mutual Insurance Company (“Nationwide”), Plaintiff Great

American Insurance Company (“Great American”), and Defendants Ozark Mountain Poultry, Inc.

and OMP Farms, LLC (collectively, “OMP”) state as follows for their Joint Status Report

       1.      Pursuant to the Court’s order entered on January 7, 2021, the parties submit the

following status report for the fourth quarter.

       2.      The related appeal in Fieldale Farms Corp. et al. v. SOMMA Food Grp., LLC et

al., Court of Appeals for the Fifth District of Texas at Dallas, Case No. 05-20-00191-CV (“Texas

appeal”) is still pending but new developments have stalled the progress of same. The Court

previously set oral arguments for December 8, 2021. However, after the oral arguments were set,

the parties involved in the underlying appeal, including Defendants, learned that the co-founders

of SOMMA, the plaintiff that obtained a judgment against OMP and others in the underlying

matter, have been under criminal indictment.

       3.      As the Court may recall, the related state court case, from which a judgment was

entered that is the basis for the current lawsuit, arose from the sale of chicken from OMP that

ultimately made it to SOMMA, which distributed it the NYC public schools for children to


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consume. SOMMA sued OMP, House of Raeford Farms, Inc. and Fieldale Farms (“State Court

Defendants” collectively) alleging that SOMMA incurred damages from its loss of contracts with

the NYC Public School after bones were found in chicken tenders provided to the children.

        4.      On or around September 29, 2021, the United States Attorneys’ Office for the

Eastern District of New York issued a press release announcing that three of the co-founders of

SOMMA had been indicted in a Brooklyn Federal court for various charges related to bribery of

NYC school officials in order to obtain the contracts at issue to sell chicken and other products to

the schools. See Exhibit A- Press Release from the US Attorney’s Office.

        5.      In connection with the indictments, an FBI officer filed an affidavit in which she

cited excerpts from numerous emails between the SOMMA co-founders and others relating to the

conspiracy and bribery. See Exhibit B- Affidavit. OMP and its co-Defendants in the related state

court litigation contend that they were not provided this information during discovery in the state

court litigation.

        6.      Upon learning of the indictments and unproduced emails, the State Court

Defendants filed a joint bill of review with the state court against SOMMA based on the

information obtained in the criminal indictment of the co-founders.

        7.      The bill of review asks the state court to vacate the final judgment entered due to,

among other arguments, the failure to produce information about the criminal actions which the

State Court Defendants could have used to attack SOMMA’s witnesses and the theory on damages

(including the argument that the contract was a result of illegal actions and therefore, not

enforceable or the basis for recovering damages).




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        8.      Immediately upon filing the bill of review, the State Court Defendants filed a

motion to stay the pending appeal with the Court of Appeals for the Fifth District of Texas. The

State Court Defendants cited the pending bill of review as the basis for their request for relief.

        9.      On November 30, 2021, the Court of Appeals cancelled oral argument and ordered

that the appeal be removed from the docket for 120 days or until a motion to reinstate or dismiss

the appeal is filed. See Exhibit C.

        10.     SOMMA’s answer to the bill of review is due January 14, 2022. It is unclear how

soon the state court will hold a hearing and issue a decision on the bill of review.

        11.     If the bill of review is granted, it will moot this lawsuit. If it is denied, upon

information and belief, the related appeal will not be resolved by the deadline that this Court has

set to reinstate this matter on its docket.

        12.     The parties intend to confer to determine the best course of action moving forward

and will advise the Court as soon as possible after the resolution of the bill of review.

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      Respectfully submitted,

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